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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Southern District
                                              __________  DistrictofofNew York
                                                                       __________


                  State of New York, et al.                    )
                             Plaintiff                         )
                                v.                             )      Case No.     1:18-cv-2921
          U.S. Department of Commerce, et al.                  )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Amicus Project on Fair Representation                                                                        .


Date:          06/06/2018                                                                /s/ Michael H. Park
                                                                                         Attorney’s signature


                                                                                     Michael H. Park (MP9578)
                                                                                     Printed name and bar number
                                                                                        745 Fifth Avenue
                                                                                           Suite 500
                                                                                       New York, NY 10151

                                                                                               Address

                                                                                   park@consovoymccarthy.com
                                                                                            E-mail address

                                                                                          (212) 247-8006
                                                                                          Telephone number



                                                                                             FAX number
